Case 4:14-cv-00553-.]ED-FHI\/| Document 2 Filed in USDC ND/OK on 09/18/14 Page 1 of 16

IN THE UNITED STATES DISTRICT COURT
FOR THE NORTHERN DISTRICT OF OKLAHOMA

(l) VICKESH PATEL, ) F § L E D
) SEP 1 8 2014
) . .
. . 4 Phll Lombardl, Clerk
Plamt‘ff’ § U.S. DlsTRlcT couRT
vs. ) _
) 14 cv -553JE1) -FHM
(l) BLUE CROSS BLUE SHIELD OF ) Case No.
OKLAHOMA, A DIVISION OF HEALTH ) State Court No. CJ-2014-02823
CARE SERVICE CORPORATION, A )
MUTUAL LEGAL RESERVE COMPANY, )
IN INDEPENDENT LICENSEE OF THE )
BLUE CROSS AND BLUE SHIELD )
ASSOCIATION )
. ) l
Defendant. _) i' .
NOTICE OF REMOVAL

 

Defendant Blue Cross Blue Shield of Oklahoma (“BCBS-OK”), a Division of
Health Care Service Corporation, an Illinois Mutual Legal Reserve Company (“HCSC”),
removes this action to the United States District Court for the Northern District of
Oklahoma pursuant to 28 U.S.C. §§ 1332(a)(l), 1441, and 1446. This action is removable
because there is complete diversity of citizenship between Plaintiff, Vickesh Patel
(“Plaintiff”), and HCSC, and because the amount in controversy, exclusive of interest and
costs, exceeds the sum or value of $75,000.00, as shown on the face of the Petition. In

support of this Notice of Removal, HCSC states as follovvs:

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Procedural Histor_'y
l. On July 24, 2014, Plaintiff filed a Petition (the “Petition”) against HCSC

commencing the civil action styled Vickesh Paz‘el v. Blue Cross Blue Shield of Oklahoma,
Case No. CJ-2014-02823, District Court of Tulsa Coun_ty, State of Oklahoma (the “State
Court Action”).

2. The Return of Service filed in the State Court Action shows that service
was effected by serving the Oklahoma Insurance Commissioner by Certified Mail on
August 29, 2014. HCSC has thus filed this notice of removal within the 30-day period
provided by 28 U.S.C. § 1446(b).

3. Pursuant to 28 U.S.C. § l446(a) and Local Rule LCvR 81.2, HCSC has
attached as exhibits to this Notice of Removal true and legible copies of filed or served in
the State Court Action. A copy of the Docket Sheet from the State Court Action is
attached as Exhibit “l.” A copy of the Petition is attached as Exhibit “2.” A copy of the
Proof of Service is attached as Exhibit “3.” HCSC will also file a Status Report on
Removed Action in compliance with the Local Rule.

4. As of the time of filing this Notice of Removal, there have been no other
filings or proceedings in the State Court except those attached as Exhibits 2-3.

Amount in Controversv

5. As shown on the face of the Petition, the amount in controversy exceeds
$75,000 (exclusive of interest and costs). See Ex. 2 at 11 19 (alleging that, “As a result of
Defendant’s breach of contract and breach of the covenant of good faith and fair dealing,

Plaintiff has suffered damages, including the loss of the"insurance policy benefits, mental

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Case 4:14-cv-00553-.]ED-FHI\/| Dooument 2 Filed in USDC ND/OK on 09/18/14 Page 3 of 16

and emotional distress, embarrassment, anxiety, medical expenses and financial hardship,
all of which are in excess of seventy five thousand dollars ($75,000.00).”).
Diversi}y of Citizenship

6. Defendant Blue Cross Blue Shield of Oklahoma, a Division of Health Care
Service Corporation, is and was at the time of the filing of Plaintiff’s Petition a citizen of
Illinois. HCSC is a mutual legal reserve company’that' is incorporated under the laws of
Illinois with its principal place of business in Chicago, Illinois. BCBS-OK is an
unincorporated division of HCSC. “[F]or diversity purposes, [an] unincorporated
division’s citizenship is [the] same as corporation of which it is a part . . . .” Equifax
Services, Inc. v. Hitz, 905 F.2d 1355, 1358 n.2 (lOth Cir. 1990) (citing Brunswick Corp.
v. Jones, 784 F.2d 271, 275 n. 3 (7th Cir.l986)). See also Wisconsin Km'fe Works v. Nat’l
Metal Cra#ers, 781 F.2d 1280, 1282 (7th Cir. 1986) (flnding that “the state of which . . .
[a division] is a citizen for purposes of determining diversity is the state of which the
corporation that owns the division is a citizen”). \

7. Plaintiff is a citizen and resident of the State of Oklahoma, as stated on the
face of the Petition. (Ex. 2 at 1[ “1.”')

8. Therefore, there is complete diversity of citizenship between Plaintiff and
Defendant in accordance with 28 U.S.C. § 1332.

Conclusion

9. This is a civil action over which this Court has original subject matter

jurisdiction pursuant to the provisions of 28 U.S.C. § 1332. Furthermore, this action is

one which may be removed to this Court by Defendant pursuant to the provisions of 28

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U.S.C. § 1441 in that it is a civil action between citizens of different states, and the matter
in controversy exceeds the sum or value of $75,000.00, exclusive of interest and costs.

10. Venue is appropriate in this Court as this Court is in the district in which
the underlying state court action was pending. 28 U.S.C. § 1441.

11. Pursuant to 28 U.S.C. § 1446(d), Defendants will promptly provide
Plaintiff with written notice of removal of this action and will file a copy of this Notice of
Removal with the Clerk of the Tulsa County District Court.

12. Therefore, under the applicable provisions of 28 U.S.C. §§ 1332, 1441 and
1446, HCSC has complied with necessary requirements and is entitled to remove this
action.

WHEREFORE, Defendant HCSC hereby removes all claims in the Action from
the District Court for Tulsa County, Oklahoma, to the United States District Court for the
Northem District of Oklahoma,

Dated this 18th day of September, 2014.
Respectfillly submitted,

s/Tz`mothv A. Carnevé § iM_`

Timorhy A. Camey, oBA N"d. 11784 l
Barbara M. Moschovidis, OBA No. 31 161
GABLEGoTwALs

1100 ONEOK Plaza

100 West Fifth Street

Tulsa, Oklahoma 74103

(918) 595-4800

(918) 595-4990 (Fax)

Attorneys for Defendant Blue Cross Blue
Shield of Oklahoma, a Division of Health
Care Service Corporation

{1286882;}

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CERTIFICATE OF SERVICE

I hereby certify that on September 18, 2014, I mailed a copy of the Notice of
Removal, postage prepaid to the following counsel of record:

Donald E. Smolen, II

Laura M. Lauth

Jack Beasley

Smolen, Smolen & Roytman
701 S. Cincinnati Ave.
Tulsa, OK 74119

I further certify that a copy of the Notice of Removal was also delivered for filing
on the same date to the Clerk of the District Court of Tulsa County, State of Oklahoma,

s/Timothv A. Carnev
Timothy A. Carney

»,'\

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Case 4:14-cv-00553-.]ED-FHI\/| Dooument 2 Filed in USDC ND/OK on 09/18/14 Page 6 of 16
OClS Case Summary for CJ-2014-2823- PA'I`EL, VICKESH v. BLUE CROSS BLUE S... Page 1 of 3

 

 

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official record keeper. The information contained in this report is provided in compliance with the Oklahoma Open Records Act, 51 O.S. 24A.1. Use of
this information is governed by this act, as well as other applicable state and federal |aws. ,

 

lN THE DlSTR|CT COURT lN AND FOR TULSA CCUNTY, OKLAHOMA

No. CJ-2014-2823
(Civi| relief more than $10,000:

 

 

 

 

V'CKE§:ir:i/;‘fTE'-' BREAcH oF AGREEMENT - coNTRAcT)
V. ' .
BLuE cRoss BLuE sHlELD oF oKLAHoMA, F"ed' °7/24’2°14
Defendant.
udge: Kuehn, Dana
Parties

 

BLUE CROSS BLUE SH|ELD OF OKLAHOMA , Defendant
PATEL, V|CKESH , Plaintiff

 

Attorneys _
Attorney Represented Parties "3`
S|V|OLEN, DONALD E |l(Bar# 19944) PATEL, V|CKESH

SMOLEN,SMOLEN & ROYT|V|AN PLLC
701 S C|NC|NNAT| AVE
TULSA, OK 74119

Events

 

Event Party Docket Reporter

|ssues

 

For cases filed before 1/1/2000, ancillary issues may not appear except in the docket.

issue #1. lssue; BREACH oF AGREEMENT - coNTRAcT
(coNTRAcT)
Filed by: PATEL, vlcl<EsH
Filed Date; 07/24/2014

 

 

 

Par_ty Name: Disposition |nformation:

Defendant: BLUE CROSS BLUE SH|ELD OF Pending.

OKLAHOMA
Docket
Date Code Count Party Serial # Entry Date

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Case 4:14-cv-00553-.]ED-FHI\/| Dooument 2 Filed in USDC ND/OK on 09/18/14 Page 7 of 16
OC_IS Case Summary for CJ-2014-2823- PATEL, VICKESH v. BLUE CROSS BLUE S... Page 2 of 3

BREACH OF AGREEMENT - CONTRACT

 

 

 

 

 

 

 

 

 

 

 

 

 

 

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Case 4:14-cv-00553-.]ED-FHI\/| Dooument 2 Filed in USDC ND/OK on 09/18/14 Pa e 8 of 16
OC_IS Case Summary for CJ-2014-2823- PATEL, VICKESH v. BLUE CROSS BLUE S... age 3 of 3

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CJ-2014-28232 $2.00 ON AC59 OKLAHOMA COUNC|L ON JUD|C|AL CO|V|PLA|NTS REVOLV|NG
FUND.

CJ-2014-2823; $2.00 ON AC64 D|SPUTE |V|ED|AT|ON FEES.

CJ-2014-2823Z $25.00 ON AC79 OC|S REVOLV|NG FUND.

CJ-2014-28231 $10.00 ON AC81 LENGTHY TR|AL FUND.

 

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DISTRICT COIJRT
IN THE DISTRICT coUR'r oF TULSA coUNFY § E
sTATE or oKLAHoMA
int 2 4 2014
vicKEsH PATEL,
§ s~,¢;,stsa¢ts“sss“
Plaintiff, ) Case No.:
)
v. )
) ATToRNEY LIEN cLAIMED
BLUE cRoss BLUE silan oF )
oKLAHoMA, A vivisz oF HEALTH )
cARE sEercE coRPoRATIoN, A )

MUTUAL LEGAL RESERVE COMPANY, )
AN INDEPENDENT LICENSEE OF TIHE )
BLUE CROSS AND BLUE SHIELD

§05-20.14 028 23

Defendant. ) Ev§§§§ LYZ`§§% K;JJE}W

PETITION

 

COMES NOW the Plaintiff, Vickesh Patel, by and through his attorney of record, Donald ~E.
Smolen, ll of Smolen, Smolen & Roytman, PLLC, and for his cause of action against Defendant
Blue Cross Blue Shield of Oklahoma, sets forth and states as follows:

PARTIES, JURISDICTION AND VENUE
1. Plaintiff is a citizen of Oklahoma and resides in this judicial district.
2._ Defendant Blue Cross Blue Shield of Oklahoma, a Division of Health Care Service

Corporation, A Mutual Legal Reserve Company, an Independent Licénsee of the Blue Crpss;and
r_~‘i'~=. .

Blue Shield Association, is a foreign corporation conducting regular business in Tulsa County, ge

Oklahoma,

3. The acts, occurrences and omissions complained of herein occurred in Tulsa County,

leahoma.

  
 

4. This Court has jurisdiction and venue is proper in Tulsa County, Oklahoma,

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FACTS COMMON TO ALL CLAIMS

 

5. Paragraphs 1-4 are incorporated herein by reference

6. At all times relevant to the acts and omissions alleged herein, Plaintiff Vickesh Patel was
insured under an insurance contract with Defendant Blue Cross Blue Shield ot`Oklahoma, providing
for health insurance benefits and coverage Speciflcally, Plaintiff was insured under a policy with
Defendant with the Group Number Y00005, Member in YUP897066680. `

7. While insured under said contract, Plaintiff injured his right knee and underwent treatrnent,
including surgery. As a result, Plaintiff, and the health care providers who treated him for the same,
submitted claims for this treatment under the aforementioned contract/policy.

8. Defendant paid these claims.

9. However, on July 24, 2013, Defendant reversed its decision and denied each of Plaintiff’s
aforementioned claims. Defendant sought, and received, refunds from Plaintiff s medical providers
for the benefits paid under the contract/coverage, leaving Plaintiff liable for medical costs-that are
clearly covered under the contract/coverage

10. Defendant reversed these claims/payments, asserting that these services were due to “pre-
existing.”

11. Plaintiff exhausted his appellate remedies with Defendant.

12. Plaintiff relied on Defendant to properly handle his claim(s) and make payment :on the
applicable claim(s) pursuant to the aforementioned insurance policy in a timely fashion. Plaintiff has
met all of the conditions precedent for payment of claims under said insurance policy.

13. Defendant unreasonably delayed, failed and refused to pay the benefits under the insurance
policy. l

14. As a result of Defendant’s actions, Plaintiff has sustained signiiicant damages

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CAUSES OF ACTION

15. Paragraphs l- 14 are incorporated herein by reference

16. Plaintiff entered into a contract with Defendant for an insurance policy providing for health
insurance coverage and benefits.

17. Plaintiff paid consideration to Defendant under said contract.

18. ln its handling of Plaintiff’s claim for benefits under the insurance policy, and as a matter of
routine practice in handling similar claims, Defendant breached its contractual obligations as well as
its duty to deal fairly and in good faith toward Plaintiff in at least the following respects:

a. Failing to authorize and pay the insurance benefits when Plaintiff was
entitled to under the policy at the time when Defendant knew the Plaintiff
Was entitled to those benefits;

b. Refusing to honor Plaintiff s claim(s) without legitimate, arguable reason and
wholly lacking any sufficient evidence or support for its refusal; v d l

c. Refusing to pay Plaintiff’s claim(s) for reasons contrary to the express

provisions of the law;

d. lntentionally and recklessly misapplying the provisions of the insurance
policy;
e. Using its unequal wealth and bargaining power to overwhelm and take

advantage of the Plaintiff and to effect an economic gain for the Defendant
by not authorizing the aforementioned claims and for reversing its decision
and failing to provide benefits under the insurance contract;

f. Failing to property investigate Plaintifi’s claim(s) for benefits;

g. Failing to comply with industry standards;
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h. Failing to properly evaluate the investigation that was done on Plaintiff’s
claim(s) for benefits; and

i. Failing to adopt and implement reasonable standards for the prompt
investigation and handling of claims arising under the policies including the
claims of the Plaintiff,

19. As a result of Defendant’ s breach of contract and breach of the covenant of good faith
and fair dealing, Plaintiff has suffered damages, including the loss of the insurance policy benefits,
mental and emotional distress, embarrassment anxiety, medical expenses and financial hardship, all
of which are in excess of seventy five thousand dollars ($75,000.00).

20. Plaintiff has retained an attorney to prosecute this action and is thus entitled to a
reasonable attorney fee as well as the costs expended in pursuit of this litigation

21. Defendant acted intentionally, maliciously and in reckless disregard for the rights of
the Plaintiff. As a result, Plaintiff is entitled to recover punitive damages against Defendant for these
actions. '

WHEREFORE, based on the foregoing, Plaintiff prays that this Court enter judgment against
Defendant and grant him the relief sought including, but not limited to, actual and punitive damages
in excess of Seventy Five Thousand Dollars ($75,000.00), costs, pre-judgment interest, post-

judgment interest, a reasonable attorney fee and all other relief deemed appropriate by this Court.

 

Case 4:14-cv-00553-.JED-FH|\/| Docu¢menLZ_Eiled_in_LiSD_C__|_\lD/OK on 09/18/14 Page 13 of 16

Respectfully submitted,

SMoLEN, SMoLEN & RoYTMAN, PLLC

DB'naid E. smoien, ii, 013A'#i9944
Laura M. Lauth, OBA #22619

lack Beesley, OBA #30484

701 S. Cincinnati Ave.

Tulsa, OK 74119

(918) 585-2667

(918) 585-2669 (Fax)

Attorneysfor Plaintiff

Case 4:14-cv-00553-.]ED-FHI\/| Document Z_.File_q inn_USDA(_J__ND/_QK o_r] 0519/18[1_§f Page 14 of 16

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`IN THE DISTRICT COURT OF TULSA COUNTY
STATE OF OICAHOMA

VICKESH PATEL,

mm 9§1§:2‘0 1 4 0 2 8 2 3

) ATTORNEY LIEN CLAIMED

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BLUE cRoss BLUE sHiELi) 0F ' )
oKLAHoMA, A DivisioN oF HEALTH ) DISTRICT CQURT
cARE sp,nv E CoRPoRATi_oN, A ) F l L E D

MUTUA.{.{ L AL RESERVE COMPANY, )

AN NYRPENDENT LICENSEE 0F THE ) _ 2014
BLUE oss AND BLUE sHIELi) ) S EP 3
Associ;ari@v, )

§ <: jl)efendant. )

SERVE BY U. SFCERTIFIED MAIL, RETURN RECEIPT REQUES'I`ED

Blue Cross Blue Shield of Oklahoma, A Division of Health Care Service Corporation, A
Mutual Legal Reserve Company, An Independent Licensee of the Blue Cross and Blue Shield
Association

To the above-named Defendant(s)

You have been sued by the above named plaintiff(s), and you are directed .to file a
written answer to the attached petition and order in the court at the above address within
twenty (20) days after service of this summons upon you exclusive of the day of service.
Within the same time, a copy of your answer must be delivered or mailed to the attorney for
the plaintiff Unless you answer the petition within the time stated judgment will be rendered
against you with costs of the action.

issuedthis Z‘;f dayor§z|glg¢ ,2014

County Court Clerk

By @'f
De Court Clerk
(Seal)
This summons and order was served on

 

(Signature of person serving summons) '

YOU MAY SEEK THE ADVICE OF AN ATTORNEY ON ANY MATTER
CONNECTED WITH THIS SUIT OR YOUR ANSWER. SUCH ATTORNEY SHOULD BE
CONSULTED IMMEDIATELY SO THAT AN ANSWER MAY BE FILED WITHIN THE
TIME LIMIT STATED IN THIS SUMMONS.

t)

Return ORIGINAL for filing.

 

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_,¢

 

 

 

 

PERSONAL SERVICE

I certify that I received the foregoing Summons the day of 2014, and that I
delivered a copy of said Summons with a copy of the Petition to the following named
defendant personally in County, at the address
and on the date set forth opposite each name, to-wit:

Name of Defendant Address Date of Service
USUAL PLACE OF RESIDENCE

l certify that I received the foregoing Summons on the day of ___, 2014, and that

on , I served by leaving a copy of said

 

summons with a copy of the attached Petition at

, which is his/her dwelling house or usual
place of abode, with , a person then residing therein, who
is fifteen (15) years of age or older.

 

 

 

 

 

NOT FOUND
Received this Summons this day of 2014. I certify that the following
persons of the defendant within named not found in said County:
FEES 4._
Fee for service $ , Mileage $ ,
Total $
Dated this day of . 2014.
By: , _ _
Sheriff of County, `
AFFIDAVIT
I, , the undersigned, under oath, do say that I served this

 

Summons and made the return thereon, according to law that I am duly authorized to _make this
affidavit so help me God. . z _' -_
Sheriff of County,

Subscribed to and sworn to before me this day of , 2014._‘
My Commission Expires:
Seal Notary Public

Case 4:14-cv-00553-.]ED-FHI\/| Document 2,Fi|ec_i in U$DC ND/O_K on 09/16/14 Page 16 of 16

."

CERTIFICATE OF SERVICE BY MAIL

I certify that I mailed copies of the foregoing summons with a copy of the Petition to the
following named defendant at the address shown by certified mail, addressee only, return

receipt requested, on the QC, day of H¢»t&u%~l'

shown:
Defendant

Receipted

Address Where Served

, 2014, and receipt thereof on the dates

Date

 

 

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Sidn{iture of person mailing summons

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